Case MDL No. 3018 Document 37 Filed 09/09/21 Page 1 of 4

BEFORE THE UNITED STATES JUDICIAN PANEL

ON MULTIDISTRICT LITIGATION

IN RE: MDL NO. 3018
NEC NETWORKS, LLC d/b/a CaptureRX

Customer Data Security Breach Litigation

PLAINTIFF NEWMAN’S OPPOSITION TO MOTION TO TRANSFER AND
CONSOLIDATE FOR COORDINATED PRETRIAL PROCEEDINGS
UNDER 28 U.S.C. §1407

Comes now the Plaintiff, Lionel Newman, individually and on behalf of all others
similarly situated, for his Opposition to Motion to Transfer and Consolidate for Coordinated
Pretrial Proceedings Under 28 U.S.C. §1407, and asserts as follows.

l. NEC Networks, LLC D/B/A/ CaptureRX has filed its Rule 26(a)(1) Initial
Disclosures within Newman v. Davis Health System, Inc., and NEC Networks, LLC, Case No.:
2:21-CV-00019 pending in the United States District Court for the Northern District of West
Virginia, and as required by Federal Rule of Civil Procedure 26(a)(1)(A)(iv) disclosed its
“insurance agreement under which an insurance business may be liable to satisfy all or part of a
possible judgment in the action or to indemnify or reimburse for payments made to satisfy the
judgment” to exclusively include “a DigiTech Enterprise Risk Management Policy issued by Ace
American Insurance Company with limits of $2,000,000 for the policy period of June 17, 2020

through June 17, 2021.” See Exhibit 1. All cases proposed for transfer to the MDL include

 
Case MDL No. 3018 Document 37 Filed 09/09/21 Page 2 of 4

different point of access defendants! which are not common among each case. For example,
Lionel Newman, and all the individuals he seeks to represent, shared PHI and PII with a local
West Virginia hospital, Davis Medical Center, not directly with NEC/CaptureRX. Because
NEC/CaptureRX has disclosed its exclusive insurance coverage to include a single policy of
insurance with only a single $2,000,000 policy limit, NEC/CaptureRX is a secondary
underinsured party in each case and the primary claims in each case will be against the various
local point of access defendants”. For Lionel Newman, and all persons he seeks to represent, the
primary target Defendant is Davis Health System, Inc. It is now clear, that entity failed to
perform its due diligence before sharing the PHI and PII of Lionel Newman with
NEC/CaptureRX. The local point of access defendants in each case lacks commonality and the
provisions of 28 U.S.C. §1407 requiring common questions of fact, convenience of parties and
witnesses, and promotion of just and efficient conduct of the actions is not satisfied by transfer
and consolidation.

2. The cases identified for proposed Transfer and Consolidation for Pretrial
Proceedings present essentially no common questions of fact that are in dispute or require
extensive discovery and litigation. NEC/CaptureRX issued form letters to all individuals whose
PHI and PII was breached and compromised and admitted NEC/CaptureRX possessed the
personal information, NEC/CaptureRX failed to prevent the breach of the personal data it had a
duty to protect, NEC/CaptureRX failed to timely discover the breach for at least 41 days, and

NEC/CaptureRX failed to timely notify Lionel Newman of the breach for at least an additional

 

"Individuals did not directly share their personal health information and personal identifiable information with
NEC/CaptureRX. Instead, each individual shared their information with local “point of access defendants” and
each of those local companies shared the data, presumably through Business Associate Agreements, with
NEC/CaptureRX.

* NEC/CaptureRX has filed a pleading within Newman, Civil Action No.: 2:21-CV-00079 representing that it failed
to protect the data of “nearly 1.7 million individuals”. NEC/CaptureRX lacks insurance to even provide $1.00
to each of the people it has harmed.

 
Case MDL No. 3018 Document 37 Filed 09/09/21 Page 3 of 4

47 days. The factual elements which lay the foundation for Lionel Newman’s West Virginia
state law based claims are known, and are not in dispute. The Motion seeking transfer identifies
no specific common questions of fact that require extensive discovery or resolution by an MDL.
While the acts which give rise to NEC/Capture’s liability may be the same for many individuals,
the facts are not in dispute and the civil actions don’t present common questions of fact that need
resolved. Instead, the development of each case will be driven by resolution of the individual
state questions of law. The laws of West Virginia, Texas, California, Pennsylvania, and
Missouri differ substantially on the breath, scope and damages permitted for invasion of privacy
claims, and the statutory, and common law tort claims based upon the wrongful disclosure of
medical and personal health information. The respective Courts in which all the cases are
currently pending can most conveniently and efficiently conduct the actions to focus discovery
involving the point of access defendants to quickly resolve the questions of law which will drive
resolution of most of the state law based claims. Plainly stated, NEC/CaptureRX’s breach is not
in dispute and there are no common questions of fact the parties need an MDL to resolve.
Common legal questions do not satisfy §1407’s requirement of common factual questions. /n re:
Medi-Cal Reimbursement Rate Reduction Litig., 652 F.Supp. 2d 1378, 1379 (J/P.M.L. 2009); Zn
re: Real Estate Transfer Tax Litig., 895 F.Supp. 2d 1350, 1351 (J.P.M.L. 2012).
3, Lionel Newman originally filed his lawsuit in Upshur County, West Virginia on
May 28, 2021. NEC/CaptureRX removed that case to the United States District Court for the
Northern District of West Virginia. Plaintiff Newman filed a Motion to Remand and supporting
Memorandum of law, NEC/CaptureRX responded to that Motion, and Plaintiff Newman has
submitted his reply brief. The issues challenging the exercise of jurisdiction over the Newman

case are fully briefed and currently pending before the Newman Court. The parties and the West

 
Case MDL No. 3018 Document 37 Filed 09/09/21 Page 4 of 4

Virginia District Court have already invested time and resources and permitting the Newman
Court to rule on the pending Motion before any decision on transfer and consolidation of that
case furthers interests of efficiency and judicial economy. If the Newman Court remands the
claim, the transfer and consolidation issue is resolved as to the Newman Complaint. Meyers v.
Bayer, AG, 143 F.Supp.2d 1044 (E.D. WI, 2001); Aetna U.S. Healthcare, Inc. v. Hoechst
Aktiengesellschafi, 54 F.Supp.2d 1042, 1055 (D.Kan.1999) (denying motion to stay and
considering and granting motion to remand); Tortola Rests., L.P. v. Kimberly-Clark Corp., 987
F.Supp. 1186, 1188-89 (N.D.Cal,1997).

WHEREFORE, the Plaintiff Newman respectfully requests the entry of an Order
denying the Motion to Transfer and Consolidate for Coordinated Pretrial Proceedings under 28
U.S.C. §1407. Alternatively, this Court should delay a decision on transferring and
consolidating the Newman Complaint until the United States District Court for the Northern
District of West Virginia rules on the pending Motion to Remand, Plaintiff seeks such other and

further relief as this Honorable Court deems appropriate.

LIONEL NEWMAN,

By Counsel

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